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Attorneys for Plaintiff
VERISIGN , INC.



                                      UNTED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA

                                        SAN FRACISCO DIVISION

VERISIGN , INC. , a corporation                    Case No. CV- 05- 00099   (PJH)

                          Plaintiff                  FILING

                                                   STIPULATED AND (PROPOSED)
                                                   ORDER RE DISMISSAL
IDN TECHNOLOGIES LLC, a limited
liability company,

                       Defendant.




5754474
                             STIPULATED AND (PROPOSED) ORDER RE DISMISSAL
                                                                                    CV- 05- 00099   (PJH)
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                          STIPULATED AND rPROPOSEDl ORDER RE DISMISSAL

          Plaintiff, Veri Sign, Inc.. (" Veri Sign ) together with Defendant IDN Technologies LLC
  IDNT" ), hereby agree and stipulate to resolve the instant action by way of settlement:

          NOW THEREFORE , IT IS HEREBY STIPULATED THAT pursuant to Rule 41 of the Federal

Rules of Civil Procedure , this Cour enter a dismissal of this Action , Case No. CV- 05- 00099 (PJH), in
its entirety and with prejudice , with the Parties to bear their own fees and costs.

          IT IS FURTHER STIPULATED THAT the Paries fuher stipulate , agree and consent that the

U.S. District Court for the Northern District of California , and specifically that the Honorable Phyllis J.

Hamilton , or other Judge subsequently assigned by the Cour , shall retain jurisdiction over all disputes

between the Parties arsing out of the settlement agreement including, but not limited to , interpretation
and enforcement of the terms of the settlement agreement and/or entry of judgment should the need

anse.


Dated: Jul yJ? , 2005                         AK GUM         STRAUSS HAUER & FELD LLP




                                                                 Attorneys for Plaintiff
                                                                  VERISIGN , INC.
Dated: July      , 2005

                                                il
                                                                    Neil Cohen
                                                              Attorneys for Defendant
                                                            IDN TECHNOLOGIES, LLC



          IT IS SO ORDERED:

Dated: July22
            - ' 2005




                                                         Honorable Phyllis J. Hamilton
                                                        United States District Cour Judge




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                            STIPULATED AND (PROPOSED) ORDER RE DISMISSAL
                                                                                           CV- 05- 00099   (PJH)
